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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

MDL NO, 2179
IN RE: OIL SPILL by the OIL RIG :
“DEEPWATER HORIZON” in the — : SECTION: J
GULF OF MEXICO, on :
APRIL 20, 2010
JUDGE BARBIER
THIS DOCUMENT RELATES TO: MAG. JUDGE SHUSHAN

. Bill’s Oyster House v BP et al (C.A. 10-1308)

. Howard Buras v BP et al (C.A.10-2994)
_Armand’s Bistro v BP et al (CA, 10-4489)

. Faye Loupe et al. v BP et al (C.A, 10-2764)

. Laura Gautreaux v BP et al (C.A, 10-1539)

6. Brent Rodrigue, Sr. et al. v BP et al (C.A, 10-1325)

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PLAINTIFFS’ STATEMENT OF MATERIAL UNCONTESTED FACTS

Pursuant to Local Rule 56.1 (Motions For Summary Judgment), Plaintiffs submit the following

statement of material facts which they contend present no genuine issue.

A) SEQUENCE OF EVENTS
B) THE FAILURE OF THE BLIND SHEAR RAMS

A} SEQUENCE OF EVENTS:

1) The defendant Cameron International Corporation had manufactured the blowout preventer,
including its blind shear rams, that was being used by Deepwater Horizon at the time of the loss
of well control and explosions at issue in this suit.

(DNF’s Final Report, page 2)

2) On the evening of April 20, 2010, there were a loss of well control and a blowout on Deepwater
florizon, and, at 9:49 p.m., the first explosion.

(Final Report, page 173)

3) At 9:56 p.m., the Emergency Disconnect Sequence was activated by the crew (which should
have cause the blind shear rams to shear and seal the drill pipe) but “the well continued to flow

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4)

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through the BOP stack, feeding the fires on the rig, indicating the BSRs had noi closed and
sealed”.
(Final Report, page 17)

“Evidence indicates that the most probable reason for this failure was damage and loss of MUX
[the multiplex cables that connected the blowout preventer’s contro! panel on the rig to the
blowout preventer] communication to the BOP stack due to and immediately after the first
recorded explosion and loss of rig power.”

(Final Report, page 168)

On April 22, the blind shear rams were finally closed, by a remotely operated vehicle. “Of the
means available to close the BSRs, evidence indicates that the activation of the BSRs occurred
when the hydraulic plunger to the Autoshear valve was successfully cut on the morning of April
22,2010”,

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(Final Report, page 3)

However, the blind shear rams only partially closed and the flow continued. “In the partially
closed position flow would have continued through the drill pipe trapped between the ram block
faces and subsequently through the gaps between the ram blocks.”

(Final Report, page 3)

“On Jay 16, the flow from the well was stopped after a method termed a ‘top kill’ was
completed. On September 19, Admiral Thad Allen, USCG, announced the well was
effectively dead after a relief well was completed and cement was pumped into the
Macondo 252 well to seal it.”

(Final Report, page 17)

B) THE FAILURE OF THE BLIND SHEAR RAMS:

8)

“The Blind Shear Rams are designed to sever drill pipe that might be in the wellbore and seal the

wellbore in the event of the loss of well control.”
(Final Report, pages 13-16)

9) “The BSR blades are designed with a face rake angle intended to impart tension on the drill pipe

as the blades shear through it. Multiple numerical equations exist for approximating the shear
forces necessary to shear drill pipe, however these only consider situations where the pipe is
completely within the shearing blade surfaces of the BSR.”

(Final report, page 134)
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10) “The upper BSR block had a single “V” blade design, intended to create a progressive shear,

thereby reducing the necessary cutting force. ... the upper BSR blade does not extend fully
across the wellbore.”

(Final report, page 136)(emphasis added)

11} “The shear model with off-centered drill pipe showed thai the required shear force (RF-max)}
increased as the pipe was pressed between the flat outer faces of the ram blocks. A maximum
shear force for the off-centered pipe analysis was calculated as 1,017,040 Ib-f which is
equivalent to 4,273 psi for this BSR design. Based on this analysis, the BSR would likely stall

at this point, if not prior to this, as the required pressure exceeded the hydraulic system
pressure (reculated to 4,000 psig).”

(Final Report, page 164)(emphasis added)

12} “The Primary Cause” of the failure of the blind shear rams to fully close and seal was “due to a
portion of the drill pipe trapped between the [blind shear rams’] blocks”.
(Final Report, page 174}

13} “As the BSRs were closed, the drill pipe was positioned such that the outside corner of the
upper BSR blade contacted the drill pipe slightly off center of the drill pipe cross section. A
portion of the drill pipe was outside of the BSR shearing blade surfaces. As the BSRs closed,
this portion of the drill pipe cross became trapped between the ram block faces, preventing the
blocks from fully closing and sealing. The drill pipe most likely deflected to the side of the
well from the moment the well began flowing. Trapping of the drill pipe between the ram faces

would have taken place regardless of which means initiated BSR. closure (AMF/Deadman or
Autoshear). “

(Final Report, page 17+4)

14) The blind shear rams were unreasonably dangerous or in a defective condition when they left
Cameron’s contro], and no maintenance or modifications after the blind shear rams left
Cameron’s control contributed to their failure. “It is DNV’s view that the evidence indicates the
reported leaks in the hydraulic circuits were not a contributor to the blind shear rams being
unable to close fully and seal the well. In its review of various modifications made to the control
logic or BOP stack, it is DNV’s view that there is no evidence these modifications were a factor
in the ability of the blind shear rams being able to fully close and seal the well.”

(Final Report, page 171)

15) An alternative design that existed when the blind shear rams had been manufactured (such as
(a) having the shearing blades extend fully across the wellbore or (b) having greater hydraulic
system pressure) would have prevented their failure. Such would have ensured that the blind
shear rams “complete their intended function of completely cutting tubulars regardiess of their
position in the wellbore, and sealing the well”.

(Final Report, page 177)
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16. This defect resulted in and proximately caused the damages and injuries to the Plaintiffs at

issue in this matter.

Respectfully submitted,

és/ Daniel FE. Beenel, Jr.

DANIEL E. BECNEL, JR. (#2926)
BECNEL LAW FIRM, LLC

P.O, Drawer H

106 West Seventh Street

Reserve, Loutsiana 70084
Telephone: (985) 536-1186
Facsimile: (985) 536-6444

E-mail: dbecnel@@becnellaw.com
Attorneys for Plaintiffs in:

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Bill’s Oyster House v BP et al (C.A. 10-1308)

CERTIFICATE OF SERVICE

WE HEREBY CERTIFY that the above and foregoing Statement of Uncontested Material
Facts has been served on All Counsel by electronically uploading the same to Lexis Nexis File &
Serve in accordance with Pretrial Order No. 12, and that the foregoing was electronically filed
with the Clerk of Court of the United States District Court for the Eastern District of Louisiana
by using the CM/ ECF System, which will send a notice of electronic filing in accordance with
the procedures established in MDL 2179, on this 12th day of — April .2011.

ésf Daniel F. Beenel, Jr.

